Order entered August 16, 2016




                                              In The
                                  Court of Appeals
                           Fifth District of Texas at Dallas
                                      No. 05-16-00841-CV

                                GUDAYE GOBEZIE, Appellant

                                                V.

                   SANDRA CASTILLO AND JORGE VALERIANO, Appellee

                       On Appeal from the 192nd Judicial District Court
                                    Dallas County, Texas
                            Trial Court Cause No. DC-15-03934

                                            ORDER
       The trial court has found appellant indigent. See TEX. R. APP. P. 20.1(i). Accordingly,

we ORDER Dallas County District Clerk Felicia Pitre and Tenesa Shaw, Official Court Reporter

of the 192nd Judicial District Court, to file the appellate record without advance payment of costs.

See id. 20.1(k). The record shall be filed no later than August 23, 2016.

       We DIRECT the Clerk of the Court to send a copy of this order to Ms. Pitre, Ms. Shaw,

and the parties.




                                                       /s/   ELIZABETH LANG-MIERS
                                                             JUSTICE
